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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                              Greenbelt Division

PULTE HOME CORPORATION, et al.,               *
                                              *
     Plaintiffs,                              *
                                              * Civil Action No.: 8:14-cv-03955-GJH
          v.                                  * Judge George Jarrod Hazel
                                              *
MONTGOMERY COUNTY, MARYLAND, et               *
al.,                                          *
                                              *
     Defendants.                              *

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   APPENDIX OF EXHIBITS TO PLAINTIFF PULTE HOME CORPORATION’S
  MOTION TO COMPEL PRODUCTION OF DOCUMENTS OF THIRD PARTIES
 AUDUBON NATURALIST SOCIETY, INC., DIANE CAMERON, SAVE TEN MILE
  CREEK COALITION, FRIENDS OF TEN MILE CREEK AND LITTLE SENECA
RESERVOIR, INC., LIVEABLE CLARKSBURG COALITION, INC., SENECA CREEK
           WATERSHED, INC., SIERRA CLUB, AND JOHN COOK

      EXHIBIT                                  DESCRIPTION
         A          Email and attachments from Diane Cameron to Matthew Baker and
                    Keith Van Ness, Feb. 11, 2014
          B         Subpoena Duces Tecum to Audubon Naturalist Society
          C         Subpoena Duces Tecum to Sierra Club
          D         Subpoena Duces Tecum to Save Ten Mile Creek Coalition
          E         Subpoena Duces Tecum to Friends of Ten Mile Creek and Little Seneca
                    Reservoir, Inc.
          F         Subpoena Duces Tecum to Liveable Clarksburg Coalition, Inc.
          G         Subpoena Duces Tecum to Seneca Creek Watershed Partners, Inc.
          H         Subpoena Duces Tecum to Diane Cameron
          I         Subpoena Duces Tecum to John Cook
          J         Email from Diane Cameron to Matthew Baker, ccing Caroline Taylor,
                    Feb. 8, 2014
          K         Save Ten Mile Creek Coalition Publicity Flyer
          L         Testimony of Michael Gravitz before the Montgomery County Council,
                    Dec. 5, 2013
          M         Email from Cathy Wiss to Mark Symborski, et al., Jan. 3, 2013
          N         M-NCPPC Montgomery County Planning Department and Brown and
                    Caldwell/Biohabitats Task Order No. 1, Nov. 10, 2012
          O         Liveable Clarksburg Coalition Updates
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EXHIBIT                                DESCRIPTION
   P        Transcript of Montgomery County Planning Board Public Hearing, Sept.
            10, 2013 (excerpts)
    Q       Spoken Testimony of Melane Kinney Hoffman before the Montgomery
            County Council, Dec. 2013
    R       Montgomery County Council Public Hearing Speaker’s List, Dec. 5,
            2013
    S       Testimony of Ann Smith before Montgomery County Council, Dec. 5,
            2013
    T       Letter from Donald B. Mitchell, Jr. to Louis J. Rouleau, June 29, 2016
    U       Testimony of Tenley Elizabeth Wurglitz, Sept. 9, 2014
    V       Ad Hoc Water Quality Working Group Report to the Montgomery
            County Council, July 16, 2010
   W        Letter from Louis J. Rouleau to Donald B. Mitchell, Jr., July 15, 2016
   X        Email exchange between Louis J. Rouleau to Donald B. Mitchell, Jr.,
            July 20, 2016
    Y       Email from Keith Van Ness to Matthew Baker, cc’ing Susan Jackson,
            Feb. 6, 2014
    Z       Email from Marc Elrich to Susan Jackson, Jan. 30, 2014
   AA       Email from Marc Elrich to Matthew Baker, Feb. 6, 2014
   BB       Email from Marc Elrich to Matthew Baker, Feb. 9, 2014
   CC       Letter from Kevin P. Kennedy to Marc Hansen, Aug. 29, 2013
   DD       Letter from Louis J. Rouleau to Shawn T. O’Leary, July 21, 2016
   EE       Letter from Louis J. Rouleau to Brett Alan Pisciotta, July 21, 2016




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